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 5
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 6 United States of America

 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 1:22-CR-00282-JLT-SKO

11                                 Plaintiff,             STIPULATION AND PROTECTIVE ORDER
                                                          BETWEEN THE UNITED STATES AND
12                          v.                            DEFENDANT MICHAEL DUGAN

13   JEFFREY MICHALK,                                     COURT: Hon. Sheila K. Oberto
     STEVE GOMEZ, AND
14   MICHAEL DUGAN
                                   Defendant.
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16
            WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
17
     and confidential information including but not limited to dates of birth, telephone numbers, driver’s
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     license numbers, and social security numbers (“Protected Information”); and
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            WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
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     unauthorized disclosure or dissemination of this information to anyone not a party to the court
21
     proceedings in this matter;
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            The parties agree that entry of a stipulated protective order is appropriate.
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            THEREFORE, Defendant MICHAEL DUGAN, by and through his counsel of record, Jeremy
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     Dobbins (“Defense Counsel”), and the United States of America, by and through Assistant United States
25
     Attorney Alexandre Dempsey, hereby agree and stipulate as follows:
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            1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of
27
     Criminal Procedure, and its general supervisory authority.
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      PROTECTIVE ORDER                                    1
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            Case 1:22-cr-00282-JLT-SKO Document 21 Filed 10/30/22 Page 2 of 3

 1          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 2 part of discovery in this case (hereafter, collectively known as “the discovery”).

 3          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 4 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

 5 designated defense investigators, and support staff. Defense Counsel may permit the Defendant to view

 6 unredacted documents in the presence of his attorney, defense investigators, and support staff. The

 7 parties agree that Defense Counsel, defense investigators, and support staff shall not allow the

 8 Defendant to copy Protected Information contained in the discovery. The parties agree that Defense

 9 Counsel, defense investigators, and support staff may provide the Defendant with copies of documents

10 from which all Protected Information has been redacted.

11          4.      The discovery and information therein may be used only in connection with the litigation

12 of this case and for no other purpose. The discovery is now and will forever remain the property of the

13 United States of America (“Government”). Defense Counsel will return the discovery to the

14 Government or certify that it has been destroyed at the conclusion of the case.

15          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

16 ensure that it is not disclosed to third persons in violation of this agreement.

17          6.      Defense Counsel shall be responsible for advising the Defendant, employees, and other

18 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

19          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

20 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

21 this Order.

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      PROTECTIVE ORDER                                    2
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              Case 1:22-cr-00282-JLT-SKO Document 21 Filed 10/30/22 Page 3 of 3

 1            IT IS SO STIPULATED.

 2    Dated: October 27, 2022                       PHILLIP A. TALBERT
                                                    United States Attorney
 3

 4                                            By: /s/ALEXANDRE DEMPSEY
                                                  ALEXANDRE DEMPSEY
 5                                                Assistant United States Attorney

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 7 Dated: October 27, 2022                    By: /s/ JEREMY DOBBINS
                                                  JEREMY DOBBINS
                                                                             __
                                                  Attorney for Defendant
 8                                                MICHAEL DUGAN
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10 IT IS SO ORDERED.

11
     Dated:     October 28, 2022
12                                             UNITED STATES MAGISTRATE JUDGE

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      PROTECTIVE ORDER                          3
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